                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

                                            )
CHANMONY HUOT, VLADIMIR                     )
SALDAÑA, CHAMPA PANG; LIANNA                )
KUSHI, THOEUN KONG, DENISSE                 )
COLLAZO, SUE J. KIM, SOADY OUCH,            )
TOOCH VAN, CARMEN BERMUDEZ,                 )
KEI KAWASHIMA-GINSBERG,                     )
DANIEL K. UK, and FAHMINA ZAMAN,            )
                                            )
                 Plaintiffs,                )
                                            )
        v.                                  )   Case No. 1:17-cv-10895-DLC
                                            )
CITY OF LOWELL, MASSACHUSETTS; )                JURY TRIAL DEMANDED
KEVIN J. MURPHY, in his official            )
capacity as Lowell City Manager; LOWELL )
CITY COUNCIL; RITA M. MERCIER,              )
RODNEY M. ELLIOTT, EDWARD J.                )
KENNEDY, JR., JOHN J. LEAHY,                )
WILLIAM SAMARAS, JAMES L.                   )
MILINAZZO, DANIEL P. ROURKE,                )
COREY A. BELANGER, JAMES D.                 )
LEARY, in their official capacities as      )
members of the Lowell City Council;         )
LOWELL SCHOOL COMMITTEE;                    )
STEPHEN J. GENDRON, JACQUELINE              )
DOHERTY, CONNIE A. MARTIN,                  )
ROBERT J. HOEY, JR., ROBERT JAMES )
GIGNAC, ANDRE DESCOTEAUX, in                )
their official capacities as members of the )
Lowell School Committee; LOWELL             )
ELECTION AND CENSUS                         )
COMMISSION; and BEVERLY ANTHES, )
JOSEPH MULLEN, THEL SAR,                    )
THOMAS FR. O’BRIEN, in their official       )
capacities as members of the Lowell         )
Election and Census Commission,             )
                                            )
                 Defendants.                )
                                            )

                   JOINT MOTION TO AMEND CASE SCHEDULE
       Plaintiffs and Defendants jointly request that the Court amend the case schedule while the

parties continue to pursue mediation. Good cause exists for the parties’ motion. The parties

have engaged in five productive mediation sessions since December 18, 2019, with an additional

mediation session scheduled for February 21, 2019. The proposed extension to the case schedule

will allow the parties to continue to focus their efforts on timely and amicable resolution of the

lawsuit. The parties request an extension of eight (8) weeks to all case deadlines to reflect the

progress that has been made in the last several weeks, and the parties’ mutual belief that such

progress is likely to continue.

       The parties expect that the current proposed extension will allow sufficient time for the

parties to attempt to reach a final settlement that resolves the lawsuit, without prejudice to either

party’s ability to pursue its claims and defenses at trial, should mediation ultimately prove

unsuccessful. Accordingly, the parties request that the Court enter the following amended case

schedule:

                   Event                         Current Deadline          Amended Deadline
 Deadline to substantially complete            January 18, 2019           March 15, 2019
 document production

 Counsel will make good faith efforts to
 produce all required documents as soon as
 they are available and avoid significant
 document production at or near the
 substantial completion deadline

 Completion of fact discovery/depositions      March 15, 2019             May 10, 2019
 other than expert depositions

 Service of Plaintiffs’ expert report(s)       March 19, 2019             May 14, 2019

 Service of Defendants’ expert report(s)       April 9, 2019              June 4, 2019

 Any rebuttal reports by                       May 7, 2019                July 2, 2019

 Completion of expert discovery                June 7, 2019               August 2, 2019



                                                 2
 Filing of dispositive motions               June 28, 2019             August 23, 2019

 Filing of oppositions and replies to        Twenty-one (21) days       Twenty-one (21) days
 dispositive motions                         for an opposition;        for an opposition;
                                             seven (7) days for a      seven (7) days for a
                                             Reply of up to twelve     Reply of up to twelve
                                             pages; no sur-reply       pages; no sur-reply
                                             without leave of Court.   without leave of Court.
                                             There is a presumption    There is a presumption
                                             that these deadlines      that these deadlines
                                             will not be extended.     will not be extended.



       The parties may request additional extensions of the discovery schedule should such

extensions be necessary to continue the mediation process, or with other showing of good cause.

       A Proposed Order Amending Case Schedule is attached as Exhibit 1 for the Court’s

consideration.


Dated: February 8, 2019                     Respectfully submitted,



                                             /s/ Scott Taylor
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KAWASHIMA-GINSBERG, DANIEL K. UK, and
FAHMINA ZAMAN.


 /s/ Rachel Brown
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ELLIOTT, EDWARD J. KENNEDY, JR., JOHN J.
LEAHY, WILLIAM SAMARAS, JAMES
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BELANGER, JAMES D. LEARY, in their official
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GENDRON, JACQUELINE DOHERTY, CONNIE
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Committee; LOWELL ELECTION AND CENSUS
COMMISSION; and BEVERLY ANTHES, JOSEPH



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MULLEN, THEL SAR, THOMAS FR. O’BRIEN, in
their official capacities as members of the Lowell
Election and Census Commission.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 8, 2019, I filed a copy of this document through the

Electronic Case Filing System for filing and electronic service to the registered participants as

identified on the Notice of Electronic Filing.

                                                 /s/ Scott Taylor
                                                 Scott Taylor




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